
THREADGILL, Acting Chief Judge.
Rudolph McNeal, Jr. challenges the order of the trial court granting in part and denying in part his motion filed pursuant to Florida Rule of Criminal Procedure 8.800(a). We affirm without discussion that portion of the order denying McNeal’s motion. However, we dismiss the appeal as to that portion of the trial court’s order that granted the second ground of McNeal’s motion and struck the imposition of investigative costs since that portion of the order is nonfinal and nonappealable. McNeal may appeal any order of the trial court regarding investigative costs.
Affirmed in part, and appeal dismissed in part.
WHATLEY and SALCINES, JJ., Concur.
